                   Case 2:03-cr-00042-MCE Document 640 Filed 02/28/06 Page 1 of 4


      1   ROBERT J. PETERS
          Attorney at Law
      2   California State Bar Number 43618
          716 19th Street, Suite 120
      3   Sacramento, CA 95814
          Telephone:     (916) 442-1806
      4   Facsimile:     (916) 442-0520
          Email:         robertj@lanset.com
      5
          JAN DAVID KAROWSKY
      6   Attorney at Law
          A Professional Corporation
      7   California State Bar Number 53854
          716 19th Street, Suite 100
      8   Sacramento, CA 95814-0710
          Telephone: (916) 447-1134
      9   Facsimile: (916) 448-0265
          Email:       KarowskyLaw@sbcglobal.net
     10
          Attorneys for Defendant
     11   Jason Walker
     12   PETER KMETO
          Attorney at Law
     13   California State Bar Number 78827
          1007 7th Street, Suite 318
     14   Sacramento, CA 95814
          Telephone: (916) 444-7420
     15   Facsimile: (916) 441-6714
          Email:      pkmeto@sbcglobal.net
     16
          Attorney for Defendant
     17   Shango Greer
     18
                                      UNITED STATES DISTRICT COURT
     19
                          IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
     20
          United States of America,                )   Case No.: Cr.S-03-042-FCD
     21                                            )
                         Plaintiff,                )   APPLICATION AND ORDER FOR
     22                                            )   WRIT OF HABEAS CORPUS
                 vs.                               )   AD TESTIFICANDUM
     23                                            )
          Jason Walker, et. al.,                   )
     24                                            )
                         Defendants                )
     25                                            )




                                                   -1-

PDF created with pdfFactory trial version www.pdffactory.com
                   Case 2:03-cr-00042-MCE Document 640 Filed 02/28/06 Page 2 of 4


      1          COMES NOW the defendants herein by their respective counsel of record and represent

      2   and show:
      3
                 That there is now confined in the King County Jail in Seattle, Washington, one
      4
          TAURIAN BENJAMIN ALFORD, DOB 5-2-70; Social Security Number XXX-XX-XXXX, in
      5
          the custody of the Warden, Sheriff or Jailor thereof; that said prisoner is a necessary, material
      6
          and competent witness in the defense of the above-entitled case, which is currently in trial in the
      7
          United States District Court at Sacramento, California, and that in order to secure the attendance
      8
          of said prisoner it is necessary that a Writ of Habeas Corpus Ad Testificandum be issued
      9
          commanding said Warden, Sheriff or Jailor to produce said prisoner in said Court, Courtroom
     10

     11   #1, Sixteenth Floor, Robert T. Matsui United States Courthouse, 501 “I” Street, Sacramento,

     12   California on March 8, 2006, at 8:30 a.m., in order that said prisoner may respond to and answer

     13   such questions as may be propounded to him during the course of the trial of said case.

     14          WHEREFORE, your petitioner prays for an order directing the issuance of a Writ of
     15   Habeas Corpus Ad Testificandum, out of and under the seal of this Court, commanding said
     16
          Warden, Sheriff or Jailor to have and produce said prisoner in said United States Courtroom on
     17
          said date, then and there to respond to and answer such questions as may be propounded to him
     18
          during the course of the trial of the above-entitled case; and at the termination of said case to
     19
          return him forthwith to said above-mentioned institution.
     20
          Dated: February 28, 2006                               /s/ Robert J. Peters
     21                                                          ROBERT J. PETERS
                                                                 Attorney at Law
     22
                                                                 Attorney for Defendant
     23
                                                                 Jason Walker

     24

     25




                                                           -2-

PDF created with pdfFactory trial version www.pdffactory.com
                  Case 2:03-cr-00042-MCE Document 640 Filed 02/28/06 Page 3 of 4


      1                                                      JAN DAVID KAROWSKY
                                                             Attorney at Law
      2                                                      A Professional Corporation
      3                                                      /s/ Jan David Karowsky
                                                             By: Jan David Karowsky
      4                                                      Attorney for Defendant
                                                             Jason Walker
      5
                                                             /s/ Peter Kmeto
      6                                                      PETER KMETO
                                                             Attorney at Law
      7                                                      Attorney for Defendant
                                                             Shango Greer
      8

      9

     10

     11

     12

     13

     14

     15
                                                    ORDER
     16

     17
                 Upon reading and filing the foregoing application in that behalf; IT IS ORDERED that a
     18
          Writ of Habeas Corpus Ad Testificandum issue as prayed for herein.
     19

     20   Dated:     February 28, 2006

     21

     22

     23

     24

     25




                                                       -3-

PDF created with pdfFactory trial version www.pdffactory.com
                  Case 2:03-cr-00042-MCE Document 640 Filed 02/28/06 Page 4 of 4


      1

      2

      3
          Ddad1/orders.criminal.greer.writ
      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25




                                                   -4-

PDF created with pdfFactory trial version www.pdffactory.com
